                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ALAN SIMONS,
                      Plaintiff,
              v.                                   CIVIL ACTION NO. 21-129

 ROYER COOPER COHEN
 BRAUNFELD, L.L.C. & BUCHANAN
 INGERSOLL & ROONEY, P.C.,
                      Defendants.

                                         ORDER

      AND NOW, this 8th day of September 2021, Plaintiff having filed an Amended

Complaint, it is hereby ORDERED that Defendant Buchanan Ingersoll & Rooney PC’s Motion

to Dismiss Complaint [Doc. No. 4] is DISMISSED as moot. Defendants’ motions to dismiss

Plaintiff’s Amended Complaint remain pending.

      It is so ORDERED.

                                                   BY THE COURT:

                                                   /s/ Cynthia M. Rufe
                                                   _____________________
                                                   CYNTHIA M. RUFE, J.
